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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

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11    BOUNPANE THAVIXAY,                    CASE NO. EDCV 21-00847-AB(AS)

12                      Petitioner,

13          v.
                                                       JUDGMENT
14    B. BURDICK,

15
                        Respondent.
16

17

18

19         Pursuant to the Order Accepting Findings, Conclusions and
20   Recommendations of United States Magistrate Judge, IT IS ADJUDGED
21   that the First Amended Petition is denied and dismissed with
22   prejudice.
23

24         DATED:     October 28, 2021
25

26                                            ___________    _________ ____
                                                     ANDRÉ BIROTTE JR.
27
                                               UNITED STATES DISTRICT JUDGE
28
